Case 2:05-CV-02405-.]DT-de Document 10 Filed 06/30/05 l Page 1 of 2 age|D 5

F||_ED ali _, D.O.
|N THE UNlTED STATES D|STR|CT COURT `

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TiOiMS M. GOUID
CLEPK U.S. _f}iSTRi_Ci OOURT
DiANE FARIA, wm GF iii iii iiPtiS
Appe|lant,
v. No. 05-2405-3

]O ANNE BARNHART,
Commissioner of Social Security,

Defendant.

 

ORDER OF TRANSFER

 

On june 27, 2005, Chief judge james D. Todd entered an order transferring
Patricia Patterson v. lo Agn Barnhart, Commissioner of Socia| Securitv, No. 05-1023, to
the undersigned in exchange for an equivalent case. The court is hereby transferring the
above-styled case to judge Todd pursuant to the order of transfer. The parties sha||, on
all pleadings and correspondence related to this matter, change the judge's initials in the
case number from 05-2405-B/V to 05-2405-T/V.

q\
lT lS SO ORDERED this SD day of]une, 2005.

 

1. DANlEL BREEN `
NITE STATES DlsTRlCT LUDGE

This document entered on the docket sheet in compliance
with Ruie 58 and,'or 79(a) FRCP on '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
case 2:05-CV-02405 Was distributed by faX, mail, or direct printing on
July 1, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

